           Case 1:19-cv-01974-TNM Document 30 Filed 08/20/19 Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF
REPRESENTATIVES,

                               Plaintiff,
                                                            Case No. 1:19-cv-01974-TNM
       vs.

UNITED STATES DEPARTMENT OF THE
TREASURY, et al.,

                               Defendants.



             PLAINTIFF’S MOTION FOR ENTRY OF BRIEFING SCHEDULE
                 AND EXPEDITED CONSIDERATION OF THIS CASE

       Plaintiff Committee on Ways and Means of the House of Representatives (Committee)

hereby moves for entry of a briefing schedule and for expedited consideration of this case.1 The

grounds for this motion are as follows:

       The Committee filed its Complaint on July 2, 2019, and the U.S. Attorney was served on

July 8. See ECF No. 4. Defendants-Intervenors were granted leave to intervene on July 18.

Responses to the Complaint are due on September 6. See Fed. R. Civ. P. 12(a)(2); Order, ECF

No. 14. Because of the need for an expeditious decision in this case, the Committee filed a

motion for summary judgment on all claims on August 20, as Federal Rule of Civil Procedure 56

allows. See Fed. R. Civ. P. 56(b) (“Unless a different time is set by local rule or the court orders

otherwise, a party may file a motion for summary judgment at any time until 30 days after the



       1
         “Defendants” as used herein refers to the federal defendants, United States Department
of the Treasury, et al.

                                                 1
         Case 1:19-cv-01974-TNM Document 30 Filed 08/20/19 Page 2 of 5



close of discovery.”). Under this Court’s Local Rule 7(b), Defendants’ and Defendants-

Intervenors’ responses to that motion are presently due 14 days after filing of the motion, or

September 3.

       Pursuant to Local Rule 7(m), counsel for the Committee has conferred with counsel for

Defendants and the Defendants-Intervenors about a briefing schedule in this case. Defendants

and Defendants-Intervenors have indicated that they intend to file a motion to dismiss raising

justiciability issues, and have taken the position that those issues should be resolved before

briefing, and this Court’s consideration, of the Committee’s motion for summary judgment.

Defendants and Defendants-Intervenors have also indicated that they intend to file an alternative

scheduling proposal shortly.

       Defendants’ staged approach—under which the parties would first brief justiciability

issues and then, only after those issues were resolved, brief the merits of this case on summary

judgment—would unjustifiably delay resolution of this case. This case turns on pure questions

of law—in particular, whether 26 U.S.C. § 6103(f) and Article I of the Constitution obligated

Defendants to provide the Committee with certain of President Trump’s tax returns and return

information upon written request by the Committee and upon issuance of duly authorized

subpoenas. The issues that Defendants are likely to raise in their anticipated motion to dismiss

are likely to overlap substantially with the issues raised in the Committee’s motion for summary

judgment. Concurrent briefing of all of the legal issues raised in this case will therefore reduce

the likelihood of duplicative briefing. And, in any event, concurrent briefing will enable the

Court to consider and resolve all of the issues at one time.

       Concurrent briefing will also aid the Court in resolving this case expeditiously. Under 28

U.S.C. § 1657(a), a federal court “shall expedite the consideration of any action . . . if good cause




                                                 2
          Case 1:19-cv-01974-TNM Document 30 Filed 08/20/19 Page 3 of 5



therefore is shown.” There is undoubtedly good cause for ensuring prompt resolution of this

case. As discussed more fully in the Committee’s motion for summary judgment and the

accompanying Memorandum of Law, Statement of Material Facts Not in Dispute, and

Declaration of Todd B. Tatelman, the Committee requested, and subsequently subpoenaed,

President Trump’s tax returns and return information in connection with its consideration of

legislative proposals pertaining to the Nation’s tax laws and its oversight of the Internal Revenue

Service’s administration of those laws. Defendants’ refusal to comply with the Committee’s

subpoenas and requests for President Trump’s tax returns and return information is impeding the

Committee’s, and by extension, the House’s ability to carry out their constitutional functions:

their ability to legislate with respect to the Nation’s tax laws and to oversee the Executive

Branch’s administration of those laws.

       Time is of the essence in rectifying Defendants’ refusal to comply with the Committee’s

requests. The House of Representatives is not a continuing body. See Eastland v. U.S.

Servicemen’s Fund, 421 U.S. 491, 521 (1975). The current Congress will end on January 3,

2021—less than seventeen months from now. The Committee must obtain a prompt resolution

of the issues in this case if it is to have enough time to investigate the tax issues implicated by

President Trump’s tax returns and return information and propose and pass any legislation that it

may deem appropriate in response.

       Plaintiff’s proposed briefing schedule, set forth below, is eminently fair to all parties. In

recognition of the important and complex legal issues this case presents, the Committee’s

proposed schedule would allow Defendants and Defendants-Intervenors more time to brief the

issues than the Federal Rules and Local Rules would otherwise provide. For example, under the

proposed briefing schedule, Defendants and Defendants-Intervenors would file a consolidated




                                                  3
           Case 1:19-cv-01974-TNM Document 30 Filed 08/20/19 Page 4 of 5



motion to dismiss and opposition to the Committee’s motion for summary judgment by

September 20, 2019.2 That is fourteen days longer than Defendants would otherwise have under

the Federal Rules to file a motion to dismiss, see Fed. R. Civ. P. 12(a)(2), and seventeen days

longer than they would otherwise have to file an opposition to Plaintiff’s motion for summary

judgment, see Local Rule 7(b). Additionally, under the Committee’s proposed briefing schedule,

Defendants’ and Defendants-Intervenors’ replies in support of their dispositive motions would be

due on October 25, 2019, or fourteen days after the Committee’s opposition. Under the Local

Rules, Defendants would have only seven days in which to file a reply. See Local Rule 7(d).

       In short, the Committee believes that the proposed briefing schedule will ensure an

efficient and prompt resolution of this matter, while ensuring that all parties are given adequate

time to brief the relevant issues. The Committee therefore respectfully requests that the Court

enter an order adopting the following briefing schedule:



           Defendants’ and Defendants-Intervenors’            September 20, 2019
           consolidated dispositive motions and
           opposition to Plaintiff’s motion for summary
           judgment


           Plaintiff’s consolidated opposition to motions     October 11, 2019
           to dismiss and reply in support of motion for
           summary judgment

           Defendants’ and Defendants-Intervenors’            October 25, 2019
           reply in support of their dispositive motions

           Oral argument                                      As soon as practicable
                                                              following the conclusion of
                                                              briefing


       2
        If Defendants and Defendants-Intervenors choose to file cross-motions for summary
judgment, they should be filed on the same day as, and consolidated with, their consolidated
motions to dismiss and oppositions to Plaintiff’s motion for summary judgment.

                                                   4
        Case 1:19-cv-01974-TNM Document 30 Filed 08/20/19 Page 5 of 5




                                   Respectfully submitted,


                                   /s/ Douglas N. Letter
                                   Douglas N. Letter (D.C. Bar No. 253492),
                                       General Counsel
                                   Todd B. Tatelman (VA Bar No. 66008),
                                       Deputy General Counsel
                                   Megan Barbero (MA Bar No. 668854),
                                       Associate General Counsel
                                   Josephine Morse (D.C. Bar No. 1531317),
                                       Associate General Counsel
                                   Brooks M. Hanner (D.C. Bar No. 1005346),
                                       Assistant General Counsel
                                   Sarah E. Clouse (MA Bar No. 688187)
                                       Attorney

                                   OFFICE OF GENERAL COUNSEL
                                   U.S. HOUSE OF REPRESENTATIVES
                                   219 Cannon House Office Building
                                   Washington, D.C. 20515
                                   Telephone: (202) 225-9700
                                   douglas.letter@mail.house.gov

                                   Counsel for Plaintiff Committee on Ways and
                                   Means, U.S. House of Representatives

August 20, 2019




                                      5
